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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND



CHRISTOPHER A. HALL,                            *
                                                *
               Petitioner,                      *
                                                *
v.                                              *           Civil No. PJM 17-1194
                                                *           Related to Crim. No. PJM 04-559
                                                *
UNITED STATES OF AMERICA,                       *
                                                *
               Respondent.                      *
                                                *

                                 MEMORANDUM OPINION

       Christopher Hall, pro se, pursuant to Federal Rule of Civil Procedure 60(b), 28 U.S.C. §

2241, and 28 U.S.C. § 2255, has filed a Motion to Reopen and Vacate his conviction. ECF No.

740. The Court has considered the Motion and the Government’s Opposition. For the reasons set

forth below, the Motion is DISMISSED.

                   I.        FACTUAL AND PROCEDURAL BACKGROUND

       On January 25, 2006, Hall and several coconspirators were charged in a Fourth

Superseding Indictment with conspiracy to distribute cocaine and crack; using a communications

facility in the commission of a felony; and possession with intent to distribute cocaine. ECF No.

201. On May 9, 2006, a mistrial was declared in Hall’s first trial because the jury was unable to

reach a verdict.

       On June 21, 2006, Hall was charged in a Fifth Superseding Indictment, which re-alleged

the charges contained in the Fourth Superseding Indictment. ECF No. 321. Hall proceeded to

trial representing himself, Judge Alexander Williams of this Court presiding and, following a

six-day trial, the jury convicted him on all counts. ECF No. 416.


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       Judge Williams sentenced Hall to 300 months imprisonment followed by five years of

supervised release as to counts I and V, and forty-eight months of imprisonment followed by one

year of supervised release with respect to count IV, all counts to run concurrently. Hall appealed

to the Fourth Circuit, which affirmed the convictions and sentences on January 8, 2009. United

States v. Hall, 551 F.3d 257 (4th Cir. 2009).

       On March 23, 2009, Petitioner filed his first Motion to Vacate under 28 U.S.C. § 2255.

Judge Williams denied the motion on July 29, 2010. ECF No. 560.

       On August 15, 2016, Hall filed a Motion to Reduce his sentence under Amendment 782

to the U.S. Sentencing Guidelines. The Government consented and his sentenced was reduced to

262 months. ECF No. 725.

       Hall then filed a Petition for Writ of Habeas Corpus before this Court on February 21,

2017, in which he argued that Judge Williams erred in “forcing” him to proceed pro se without a

competency evaluation and that his sentence was unconstitutional. ECF No. 729. The Court

construed the motion as a successive petition under § 2255. ECF No. 734. Because Hall had not

received the required certification from the Fourth Circuit to file a successive habeas petition, the

Court dismissed the second petition for lack of jurisdiction.

       Hall filed the present Motion to Reopen and Vacate his conviction on April 28, 2017,

invoking Rule 60(b), 28 U.S.C. § 2241, and 28 U.S.C. § 2255. ECF No. 740. The Government

has filed an opposition and Hall has replied.

                                   II.     STANDARD OF LAW

       Federal Rule of Civil Procedure 60(b)(6) provides for relief from final judgment for “any

other reason that justifies relief.” Fed. R. Civ. P. 60(b). However, relief under Rule 60(b)(6) is

available only in extraordinary circumstances.” Buck v. Davis, 137 S.Ct. 759, 777 (2017) (citing



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Gonzalez v. Crosby, 545 U.S. 524, 535 (2005)). It may not be used as a vehicle to circumvent the

rule prohibiting successive § 2255 petitions. Absent authorization from the Fourth Circuit, a

defendant’s successive § 2255 motion is barred and a district court must deny the motion for lack

of jurisdiction. See 28 U.S.C. § 2255(h); United States v. Winestock, 340 F.3d 200, 205 (4th Cir.

2003).

         Rule 60(b) motions should be construed as successive applications for relief under § 2255

when it appears that a defendant is attempting to file the “functional equivalent” of a § 2255

petition. See Winestock, 340 F.3d at 206 (“We now hold that district courts must treat Rule 60(b)

motions as successive collateral review applications when failing to do so would allow the

applicant to evade the bar against relitigation of claims presented in a prior application or the bar

against litigation of claims not presented in a prior application.”).

                                          III.    ANALYSIS

         Hall’s latest Motion is strikingly similar to the one previously filed, which the Court

dismissed on March 6, 2017. He now adds allegations to the effect that the prosecution “racially

tortured him” and forum shopped for a “racially friendly” venue. ECF No. 740 at 1; ECF No.

744 at 4. He cites the recent Supreme Court case of Buck v. Davis as support for his contention

that Rule 60(b)(6) provides him relief from his conviction and sentence. ECF No. 740.

         In Buck, a state petitioner sentenced to death sought federal habeas relief, contending that

his trial counsel’s introduction of expert testimony reflecting the view that his race predisposed

him to violent conduct violated his Sixth Amendment right to counsel. Buck v. Davis, 137 S.Ct.

at 775. Though his claim was procedurally defaulted, the Supreme Court concluded that

“extraordinary circumstances” existed, enabling the petitioner to pursue relief under Rule 60(b).

Id. at 777. Specifically, the Buck Court stated that the petitioner “may have been sentenced to



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death in part because of his race,” noting, moreover, that the State had already admitted error in

similar cases and that relying on race to impose a criminal sanction injures not just the defendant

but “poisons the public confidence” in the judicial system. Buck, 137 S. Ct. at 778. Hall contends

that his case is similar to Buck and that the Court should provide the requested relief.

       The Government responds that Hall has not shown “extraordinary circumstances” of the

sort that were present in Buck, and that Hall’s Motion is not a “true” Rule 60(b) Motion. ECF

No. 743. Rather, the Government asserts, the Motion is a successive habeas petition which

should be dismissed as such. Id.

       The Court agrees with the Government. Hall’s Motion is undoubtedly the functional

equivalent of a successive § 2255 petition. To start, Hall’s claims that he was “forced” to proceed

to trial pro se and that his sentence is unconstitutional were already raised and denied by Judge

Williams. ECF No. 559. Likewise, his argument that Judge Williams erred in not holding a

competency hearing before allowing him to waive his right to counsel was raised and

subsequently dismissed by the undersigned member of the Court, who took over the case

following Judge Williams’ retirement. ECF Nos. 729, 734.

       In any event, Hall’s new race-based assertions fall far short of the extraordinary

circumstances contemplated by the Buck Court. There is absolutely no evidence or fact to

support Hall’s allegations that he was “racially tortured” or that the prosecution engaged in

“racially motivated forum shopping.” Rule 60(b)(6) has no application here. The Court lacks

jurisdiction to review the Motion.

                          IV.      CERTIFICATE OF APPEALABILITY

       Rule 11(a) of the Rules Governing § 2255 cases provides that the district court “must

issue or deny a certificate of appealability when it enters a final order adverse to the applicant.”



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A certificate of appealability will not issue absent “a substantial showing of the denial of a

constitutional right.” 28 U.S.C. § 2253(c)(2). A petitioner satisfies this standard by

demonstrating that reasonable jurists would find that any assessment of the constitutional claims

by the district court is debatable or wrong, and that any dispositive procedural ruling by the

district court is likewise debatable. See Miller-El v. Cockrell, 537 U.S. 322, 336-38 (2003); Slack

v. McDaniel, 529 U.S. 473, 484 (2000). The Court has considered the record and finds that Hall

has not made the requisite showing here.

                                      V.      CONCLUSION

       For the foregoing reasons, Hall’s Rule 60(b) Motion is DISMISSED. A Certificate of

Appealability is DENIED.

       A separate Order will ISSUE.


                                                           /s/________________
                                                    PETER J. MESSITTE
                                              UNITED STATES DISTRICT JUDGE


January 30, 2018




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